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Attorneys for Plaintiffs

                     THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF ALASKA


 NORTHERN ALASKA                           Case No. 3:20-cv-00187- SLG
 ENVIRONMENTAL CENTER, et al.,

                             Plaintiffs,

                     v.

 DAVID BERNHARDT, et al.,

                           Defendants.


     PLAINTIFFS’ RESPONSE TO MOTION TO INTERVENE BY ALASKA
              INDUSTRIAL DEVELOPMENT AUTHORITY




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       Plaintiffs hereby respond to Alaska Industrial Development Authority’s (AIDEA)

motion to intervene, Doc. 19. Plaintiffs take no position on AIDEA’s motion, but request

the Court to put reasonable limits on AIDEA’s and Ambler Metals LLC’s participation as

intervenors to ensure the efficient conduct of these proceedings and to ensure Plaintiffs

are not prejudiced by movant-intervenors’ participation in the case. See Ambler Metals

LLC’s Unopposed Motion to Intervene under Federal Rule of Civil Procedure 24, and

Memorandum in Support (Doc. 17).

       This court has broad discretion to impose reasonable conditions on intervention,

such as consolidated briefing by intervenors, page limitations, a requirement to confer to

coordinate briefing and other matters, or a requirement that parties only address claims

not adequately briefed by the federal government. See Fed. R. Civ. P. 24 Advisory

Comm. Notes (1966 Amend.) (indicating that even “intervention of right under the

amended rule may be subject to appropriate conditions or restrictions responsive among

other things to the requirements of efficient conduct of the proceedings”).

       Plaintiffs request that both movants be subject to the following conditions,

previously agreed upon in writing with movant Ambler Metals, LLC. 1 To facilitate

efficient resolution of this case and so as not to prejudice Plaintiffs, Plaintiffs request that



1
 Plaintiffs’ counsel did not have an opportunity to confer with one another or clients prior
to movant AIDEA submitting its Motion to Intervene. Counsel for AIDEA reserved
taking a position until seeing Plaintiffs’ Response.

PLAINTIFFS’ RESPONSE TO MOTION TO INTERVENE
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the page and word limitations established by Local Civil Rule 7.4 apply to movants if this

Court allows them to intervene in this case. Plaintiffs further request that this court

require movants to coordinate to the maximum extent practicable to avoid duplicative

arguments with the Federal Defendants and each other. Plaintiffs also anticipate needing

additional briefing space and time to adequately respond to the additional briefing from

movants. Plaintiffs request any reply brief in response to motions for summary judgment

be allotted up to 40 pages, rather than limited to 20 pages per Local Civil Rule 7.4.

       When discussing limits on intervention with counsel for Ambler Metals, they

agreed not to oppose a request for additional briefing space in Plaintiffs’ reply brief.

Plaintiffs also anticipate there may be additional time required for the reply brief, and

plan to address scheduling for merits briefing jointly with Federal Defendants and

movants after resolution of any questions related to the administrative record.

       Respectfully submitted this 19th day of November 2020.


                                              s/ Bridget Psarianos
                                           Bridget Psarianos (AK Bar No. 1705025)
                                           Suzanne Bostrom (AK Bar No. 1011068)
                                           Brian Litmans (AK Bar No. 0111068)
                                           TRUSTEES FOR ALASKA

                                             s/ Roger Flynn (consent)
                                           Roger Flynn (pro hac vice)
                                           WESTERN MINING ACTION PROJECT




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                          CERTIFICATE OF SERVICE

        I certify that on November 19, 2020, I caused a copy of the PLAINTIFFS’
RESPONSE TO MOTION TO INTERVENE BY ALASKA INDUSTRIAL
DEVELOPMENT AUTHORITY to be electronically filed with the Clerk of the Court
for the U.S. District Court of Alaska using the CM/ECF system which will send
electronic notification of such filings to the attorneys of record in this case.


                                       s/Bridget Psarianos
                                       Bridget Psarianos




PLAINTIFFS’ RESPONSE TO MOTION TO INTERVENE
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